                                                                   Case 2:19-bk-24804-VZ             Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13                            Desc
                                                                                                      Main Document    Page 1 of 15


                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
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                                                                   5   Facsimile: 310/201-0760
                                                                       Email: rpachulski@pszjlaw.com
                                                                   6            jdulberg@pszjlaw.com
                                                                                mpagay@pszjlaw.com
                                                                   7
                                                                       Attorneys for Debtor and Debtor in Possession
                                                                   8

                                                                   9                                   UNITED STATES BANKRUPTCY COURT

                                                                  10                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  11                                              LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                  Case No.: 2:19-bk-24804-VZ
                                        LOS ANGELES, CALIFORNIA




                                                                  13   YUETING JIA,1                                           Chapter 11
                                           ATTORNEYS AT LAW




                                                                  14                                       Debtor.             NOTICE OF ERRATA RE: EXHIBITS B AND
                                                                                                                               C TO DEBTOR’S OBJECTION TO CLAIM 21
                                                                  15                                                           FILED BY CHONGQING LETV
                                                                                                                               COMMERCIAL FACTORING CO.
                                                                  16

                                                                  17                                                           [Relates to Docket No. 501]

                                                                  18
                                                                                                                               Date:           May 7, 2020
                                                                  19                                                           Time:           1:30 p.m.
                                                                                                                               Place:          Courtroom 1368
                                                                  20                                                                           Roybal Federal Building
                                                                                                                                               255 E. Temple Street
                                                                  21                                                                           Los Angeles, California 90012

                                                                  22                                                           Judge:          Hon. Vincent P. Zurzolo

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                                                                        The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                  28   91 Marguerite Drive, Rancho Palos Verdes, CA 90275.


                                                                       DOCS_LA:329071.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13            Desc
                                                                                                     Main Document    Page 2 of 15


                                                                   1   TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES BANKRUPTCY

                                                                   2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE COMMITTEE OF

                                                                   3   UNSECURED CREDITORS, THE CLAIMANT, AND ALL PARTIES ENTITLED TO

                                                                   4   SPECIAL NOTICE:

                                                                   5            PLEASE TAKE NOTICE that the Debtor’s Objection to Claim 21 Filed by Chongqing

                                                                   6   LeTV Commercial Factoring Co., Ltd., filed on April 2, 2020 (the “Objection”) [Docket No. 501],

                                                                   7   erroneously included two incorrect exhibits. The Debtor hereby amends the Objection to include

                                                                   8   corrected Exhibits B and C, attached hereto, as well as an amended translator’s declaration regarding

                                                                   9   the correct exhibits.

                                                                  10

                                                                  11   Dated:     April 20, 2020                    PACHULSKI STANG ZIEHL & JONES LLP
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                                    By       /s/ Malhar S. Pagay
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                         Richard M. Pachulski
                                           ATTORNEYS AT LAW




                                                                                                                             Jeffrey W. Dulberg
                                                                  14                                                         Malhar S. Pagay
                                                                  15                                                         Counsel for Debtor and Debtor in
                                                                                                                             Possession
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                                                                       DOCS_LA:329071.1 46353/002
                                                                   Case 2:19-bk-24804-VZ               Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13                          Desc
                                                                                                        Main Document    Page 3 of 15


                                                                   1                                         DECLARATION OF SHAN HE

                                                                   2              I, Shan He, declare as follows:

                                                                   3              1.       I am a Chinese translator, simultaneous interpreter and localization project manager

                                                                   4   employed since April 2017 by (a) Yueting Jia, the debtor and debtor in possession (the “Debtor”),

                                                                   5   that has filed a voluntary petition under chapter 11 of title 11 of the United States Code (the

                                                                   6   “Bankruptcy Code”) commencing the above-captioned bankruptcy case (the “Chapter 11 Case”),

                                                                   7   and (b) Faraday Future (“FF”), an entity in which the Debtor holds an indirect interest.

                                                                   8              2.       I am a native speaker of Chinese (Mandarin) and maintain full professional fluency in

                                                                   9   English. I hold a Bachelor of Science degree in English from Beijing Language and Culture

                                                                  10   University and a Master of Arts in Translation and Interpretation (Chinese – English) degree from

                                                                  11   the Monterey Institute of International Studies (“MIIS”). I am certified in Simultaneous and
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Consecutive Interpretation between English and Chinese by MIIS. I currently provide translation
                                        LOS ANGELES, CALIFORNIA




                                                                  13   services for the Debtor and his General Counsel. Prior to my work with the Debtor and FF, I have
                                           ATTORNEYS AT LAW




                                                                  14   provided interpretation and translation services for a variety of organizations, including the United

                                                                  15   Nations Institute for Training & Research (UNITAR), Syntes Language Group, and the Austrian

                                                                  16   Embassy.

                                                                  17              3.       The Debtor is not fluent in English. Accordingly, in the ordinary course of his

                                                                  18   business and personal affairs that require him to communicate in English either orally or in writing,

                                                                  19   he employs interpreters/translators like me who are fluent in both English and Chinese.

                                                                  20              4.       I am in regular communication with the Debtor’s professionals, including legal

                                                                  21   counsel.

                                                                  22              5.       I submit this Declaration (the “Declaration”) in support of the Debtor’s Notice of

                                                                  23   Errata Re: Exhibits B and C to Debtor’s Objection to Claim 21 Filed by Chongqing LeTV

                                                                  24   Commercial Factoring Co. (the “Objection”)2.

                                                                  25              6.       If I were called to testify as a witness in this matter, I could and would competently

                                                                  26   testify to each of the facts set forth herein.

                                                                  27

                                                                  28   2
                                                                           Capitalized terms not defined herein shall have the same meaning ascribed to them in the Objection.

                                                                                                                                    3
                                                                       DOCS_LA:329071.1 46353/002
                                                                         Case 2:19-bk-24804-VZ            Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13             Desc
                                                                                                           Main Document    Page 4 of 15


                                                                         1           7.       At the direction of the Debtor, I have reviewed the Deed of Assignment attached

                                                                         2   hereto as Exhibit “B.” My English translation of the Deed of Assignment is attached hereto as

                                                                         3   Exhibit “C.”

                                                                         4           8.       To the best of my knowledge, the English translation accurately reflects the contents

                                                                         5   and meaning of the original Deed of Assignment.

                                                                         6           I declare under penalty of perjury under the laws of the United States of America that the

                                                                         7   foregoing is true and correct.

                                                                         8           Executed on this 20th                         Long Beach
                                                                                                      ____ day of April, 2020, at _______________, California.

                                                                         9

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                                                                                                                                     ____________________________
                                                                        11                                                           Shan He
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13
                                              ATTOR NE YS A T L AW




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Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13   Desc
                         Main Document    Page 5 of 15




                        EXHIBIT B
Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13   Desc
                         Main Document    Page 6 of 15
Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13   Desc
                         Main Document    Page 7 of 15
Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13   Desc
                         Main Document    Page 8 of 15
Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13   Desc
                         Main Document    Page 9 of 15




                        EXHIBIT C
Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13          Desc
                         Main Document    Page 10 of 15



                               Deed of Assignment


      Party A: Chongqing LETV Commercial Factoring Co., Ltd

      Address: No.3 and No.4, 22/F, Building No. 1, No.25 Juxian Street,

      Jiangbei District, Chongqing



      Party B: LETV Investment Management (Beijing) Co., Ltd

      Address: (No.1 Linkong 2nd Road) North Wenhuaying Village, Gaoliying

      Town, Shunyi District, Beijing



      WHEREAS,

         1. Party A is entitled to an account receivable amounting to RMB

      121.7 million (the "Claim") against Leshi Holdings (Beijing) Co., Ltd.

      ("Leshi Holdings").

         2. Party B is an existing shareholder of Party A. Now Party A intends

      to transfer the Claim to Party B, and Party B is willing to accept the

      Claim transferred by Party A;

         Party A and Party B negotiated on the basis of equality and

      voluntariness, and reached the following agreement on the transfer of the

      said Claim, and executed this Agreement in Chaoyang District, Beijing on

      _____, 2017 for mutual compliance:
Case 2:19-bk-24804-VZ    Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13         Desc
                          Main Document    Page 11 of 15



         1. Party A and Party B agree that, from the date of this Agreement,

             Party A shall transfer the entirety of the Claim against Leshi

             Holdins amounting to RMB 121.7 million to Party B at par. After

             the transfer of the Claim, Party B shall be entitled to the Claim

             against Leshi Holdings, and shall pay Party A the transfer

             consideration equal to the amount of the Claim ("Consideration

             for the Claim Transferred"). The payment timing and payment

             method of the Consideration for the Claim Transferred shall be

             separately agreed upon by both Parties through consultation and

             be stipulated in writing.

         2. Party A guarantees that the Claim to be transferred is legal, true

      and valid.

         3. If this Agreement is invalid or cancelled, both Parties shall

             continue to perform their obligations in accordance with the

             original contract and other legal documents.

         4. For matters unspecified herein, a supplementary agreement or

             other agreements can be signed after negotiation of both Parties.

             The execution, validity, interpretation, performance and dispute

             resolution of this agreement shall be governed by the laws of the

             People's Republic of China. Any and all disputes and

             controversies arising from or in connection with this Agreement

             shall be settled by both Parties through friendly negotiations. If
Case 2:19-bk-24804-VZ    Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13            Desc
                          Main Document    Page 12 of 15



             such negotiations fail, it shall be submitted to the court where this

             Agreement is signed for settlement by litigation.

         6. This Agreement shall come into force on the date when both

             Parties affix their official seals thereon.

         7. This Agreement is made in quadruplicate, with each party holding

             two copies, each of which shall have the same legal effect.

      (Followed by Signature Pages)
Case 2:19-bk-24804-VZ   Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13   Desc
                         Main Document    Page 13 of 15




      (This is the Signature Page of the Deed of Assignment)




      Party A: Chongqing LETV Commercial Factoring Co., Ltd. (Seal)




      Party B: LETV Investment Management (Beijing) Co., Ltd (Seal)
            Case 2:19-bk-24804-VZ                 Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13                                       Desc
                                                   Main Document    Page 14 of 15

                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF ERRATA RE: EXHIBITS B AND C TO
 DEBTOR’S OBJECTION TO CLAIM 21 FILED BY CHONGQING LETV COMMERCIAL FACTORING CO. will be served
 or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
 stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 20, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                           , I served the following persons and/or entities at the last known addresses in this
 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
 mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                   , I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 20, 2020     Myra Kulick                                                               /s/ Myra Kulick
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:328028.1 46353/002
        Case 2:19-bk-24804-VZ                Doc 646 Filed 04/20/20 Entered 04/20/20 20:04:13                                       Desc
                                              Main Document    Page 15 of 15


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com,
         pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
        Ben H Logan blogan@omm.com
        Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
        Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Matthew J Olson olson.matthew@dorsey.com, stell.laura@dorsey.com
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com,
         jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeye
         rlaw.com;cblair@ecf.inforuptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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